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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

KENNETH JACKSON,

               Plaintiff,
                                                             Case No. 1:15-cv-11140
       v.

EXPERIAN INFORMATION SOLUTIONS,                              Hon. Matthew F. Kennelly
INC., OCWEN LOAN SERVICING, LLC,
RESIDENTIAL CREDIT SOLUTIONS, INC.,

               Defendants.

                               Notice of Settlement of Rule 11 Fees

       1.      On June 6, 2017, this Court entered an Order requiring “the Sulaiman firm to pay

one-half of Experian’s reasonable attorney’s fees incurred in briefing the original Rule 11 motion

and the present motion [requesting imposition of an appropriate Rule 11 sanction].” (Doc. 108.)

As part of that Order, this Court directed Experian “to submit a statement of its reasonable

attorney’s fees incurred in briefing the original Rule 11 motion and the current fee request by no

later than June 15, 2017.” (Id.)

       2.      Following this Court’s June 6, 2017 Order, Experian and Sulaiman Law Group

conferred regarding the amount of fees to be paid by Sulaiman Law Group to Experian and have

reached an agreement as to that amount. Accordingly, the parties do not anticipate the need for

further briefing or submissions to the court at this time.
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Dated:   June 15, 2017                  Respectfully submitted,

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                              CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing was filed using the CM/ECF system, which
will effectuate service on all counsel of record.


                                              /s/ Jason Z. Zhou




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